                        IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF ARIZONA


 In re                                )           CHAPTER 7
                                      )
 DESERT VALLEY STEAM CARPET           )           CASE NO. 4-17-bk-13309-SHG
 CLEANING                             )
                                      )           NOTICE OF TRUSTEE'S INTENT
                     Debtor(s).       )           TO ABANDON PROPERTY
                                      )
                                      )
______________________________________)

         Notice is given that Stanley J. Kartchner, Trustee, proposes to abandon the following-
described property on the grounds that it is burdensome and of inconsequential value to the estate:

         601 North D Street, Eloy, AZ 85131. Schedules not on file yet so scheduled value is not
known to the Trustee at this time; lien balance per creditor lift stay motion: $284,171.65 and no net
value per creditor motion; trustee net nonexempt value: $0, especially given the significant damage
to the property as stated in the creditor’s motion.

         Any person opposing the abandonment shall file a written objection with the Clerk of the
United States Bankruptcy Court, 38 S Scott Ave., Tucson AZ 85701. The objection must be filed
within 14 days from the date of the mailing of this Notice. The date of mailing can be obtained by
a review of the file with the Clerk of the U.S. Bankruptcy Court. A copy of the objection shall be
mailed forthwith to the trustee at the following address:

         Stanley J. Kartchner, 7090 N. Oracle Rd., #178-204, Tucson AZ 85704. (520) 742-1210.

         If a party in interest timely objects to the abandonment in writing and requests a hearing, the
matter will be placed on the calendar to be heard by a United States Bankruptcy Judge. If there is
no timely written objection and request for hearing filed, no hearing will be held and the property
will be deemed abandoned without a court order having been entered.



                                                          /s/ SJK
DATED: November 16, 2017                       __________________________________________
                                               STANLEY J. KARTCHNER, TRUSTEE




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